431 F.2d 701
    David Lee WILLIAMS, Petitioner-Appellant,v.UNITED STATES of America, Respondent-Appellee.
    No. 29746 Summary Calendar.**Rule 18, 5th Cir., See Isbell Enterprises, Incv.Citizens Casualty Co. of New York, et al., 5th Cir., 1970,
    
      431 F.2d 409, Part I.
      United States Court of Appeals, Fifth Circuit.
      Sept. 10, 1970.
      David Lee Williams, pro se.
      Robert H. Nicholas, Jr., Asst. U.S. Atty., Beaumont, Tex., Roby Hadden, U.S. Atty., Tyler, Tex., for appellee.
      Before BELL, AINSWORTH and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    
      1
      This appeal is taken from an order of the district court denying a federal prisoner's motion to vacate sentence pursuant to 28 U.S.C.A. 2255.  We affirm.
    
    
      2
      Appellant is presently serving a 20 year sentence for violating 18 U.S.C.A.App. 1202(a), interstate transportation of a kidnapped person.  His conviction was affirmed on direct appeal.  Williams v. United States, 5 Cir., 1968, 391 F.2d 221.
    
    
      3
      Appellant alleges that the automobile of his co-defendant was searched without a warrant by police officers and that the search incident to arrest was unreasonable in light of the Fourth Amendment.  Thus, the argument goes, certain evidence was inadmissible.
    
    
      4
      The District Court denied relief without holding an evidentiary hearing.  This was correct.  We find from the record that the evidence in question was discovered either through the police officers conducting a lawful search incident to an arrest or from a search pursuant to a lawfully issued search warrant.  Both searches were lawful.  It is unnecessary to reach any question as to standing to object or as to consent to the search without a warrant.
    
    
      5
      Affirmed.
    
    